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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                             CASE NO. 16-20742
v.
                                             DISTRICT JUDGE THOMAS L. LUDINGTON
MAKYO HENRY GEORGE-DYE,                      MAGISTRATE JUDGE PATRICIA T. MORRIS

              Defendant.
                                         /


                 MAGISTRATE JUDGE’S REPORT, FINDINGS, AND
               RECOMMENDATION CONCERNING PLEA OF GUILTY

I.     REPORT AND FINDINGS

       This case was referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §§

636(b)(1)(B) and 636(b)(3) for purposes of receiving, on consent of the parties, Defendant’s

offer of a plea of guilty. Defendant and his counsel appeared before me on January 31, 2017,

and plead guilty to counts one, two, and five of the first superseding indictment. In open court,

I examined Defendant under oath, confirmed Defendant’s consent, and then advised and

questioned Defendant regarding each of the inquiries prescribed by Rule 11(b) of the Federal

Rules of Criminal Procedure.

       Based upon Defendant’s answers and demeanor, I HEREBY FIND: (1) that Defendant

is competent to enter a plea; (2) that Defendant’s plea is entered knowingly, intelligently, and

voluntarily, without coercion; and (3) that the offense(s) to which Defendant pleaded guilty

is(are) supported by an independent basis in fact containing each of the essential elements of

the offense. Therefore, I have ordered the preparation of a presentence investigation report.
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II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that, subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the Federal Rules of Criminal

Procedure, Defendant’s plea be accepted, Defendant be adjudged guilty and the Court impose

sentence.

III.     REVIEW

         Pursuant to Rule 72(b)(2) of the Federal Rules of Civil Procedure, “[w]ithin 14 days

after being served with a copy of the recommended disposition, a party may serve and file

specific written objections to the proposed findings and recommendations. A party may

respond to another party’s objections within 14 days after being served with a copy.” FED. R.

CIV. P. 72(b)(2). See also 28 U.S.C. § 636(b)(1). Failure to file specific objections constitutes

a waiver of any further right of appeal. Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L.

Ed.2d 435 (1985); Howard v. Sec’y of Health & Human Servs., 932 F.2d 505 (6th Cir. 1991);

United States v. Walters, 638 F.2d 947 (6th Cir. 1981). The parties are advised that making

some objections, but failing to raise others, will not preserve all the objections a party may

have to this Report and Recommendation. Willis v. Sec’y of Health & Human Servs., 931 F.2d

390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373

(6th Cir. 1987). Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be served

upon this Magistrate Judge.

Date: January 31, 2017                            s/ patricia t. morris
                                                  Patricia T. Morris
                                                  United States Magistrate Judge
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                                    CERTIFICATION

      I hereby certify that this Report and Recommendation was electronically served on
counsel of record and served on U.S. District Judge Thomas Ludington in the traditional
manner.

Date: January 31, 2017                        By s/Kristen Castaneda,
                                              Case Manager
